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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                Case No. 1:24-cr-00091 (GHW)

             -v-

ANDREY KOSTIN et al.,

                               Defendants.




  DECLARATION OF DAVID C. RYBICKI IN SUPPORT OF DEFENDANT VADIM
   WOLFSON’S REPLY TO GOVERNMENT’S OPPOSITION TO DEFENDANTS’
  MOTIONS TO SUPPRESS, STRIKE, FOR A BILL OF PARTICULARS, AND FOR
              PRODUCTION OF GRAND JURY MATERIALS


Pursuant to 28 U.S.C. § 1746, I, David C. Rybicki, declare under oath as follows:

   1. I am a partner at K&L Gates LLP in Washington, D.C., and counsel to Vadim Wolfson.

   2. I make this Declaration in support of Mr. Wolfson’s Reply to Government’s Opposition to

       Defendants’ Motions to Suppress, Strike, for a Bill of Particulars, and for Production of

       Grand Jury Materials.

   3. Annexed as Exhibit A hereto is a true and accurate copy of Examination Notes from FBI’s

       Computer Analysis Response Team, Washington Field Office.

   4. Annexed as Exhibit B hereto is a true and accurate copy of a Technical Report from FBI’s

       Digital Evidence Laboratory.

   5. Annexed as Exhibit C hereto is a true and accurate copy of an Affidavit in Support of an

       Application Under Rule 41 for a Warrant to Search and Seize filed in the Eastern District

       of Virgnia.
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   6. Annexed as Exhibit D hereto is a true and accurate copy of the FD-302 memorializing

                         ’s interview with the government on January 13, 2023.

   7. Annexed as Exhibit E hereto is a true and correct copy of an email from

       dated January 14, 2023.

   8. Annexed as Exhibit F hereto is a true and correct copy of an email from Assistant United

       States Attorney Emily Deininger to me dated September 9, 2024.

   9. Annexed as Exhibit G hereto is a true and correct copy of a photograph date stamped May

       23, 2024.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 13, 2025
       Washington, D.C.

                                                      /s/ David C. Rybicki
                                                      David C. Rybicki




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                           Federal Bureau of Investigation
                                   Computer Analysis Response Team
                                       Washington Field Office
                                         Examination Notes

                                            Summary Information
FBI Washington Field Office                                Examiner: Digital Forensic Examiner (DFE) Jeffrey B. Ralston
Northern Virginia Resident Agency (NVRA)                   Case Agent: Special Agent (SA) Danielle Lockridge
9325 Discovery Boulevard                                   Legal Authority: Search Warrant
Manassas, VA 20109
Case Title: ANDREY LEONIDOVICH KOSTIN (Subject), et al;    UCFN: 281H-WF-3578641
CHRISTODOULOS VASSILIADES (aka, CHRISTODOULOS                    281H-WF-3578641-CART
VASILIADIS) (Subject); ERIC WHYTE (Subject); VADIM
WOLFSON (aka, VADIM BELYAEV) (Subject); GANNON             Submission ID: 296990
BOND (Subject); ALEXANDER VORONTSOV (Subject); and
ALEXEY SHKOLNIKOV (aka, ALEKSEY SHKOLNIKOV) (Subject)
EURASIAN CRIMINAL ENTERPRISE
Date Service Requested:       Date Specimen(s) Received:   Date Processing Started:     Date Exam Completed:
4/29/2024                     5/23/2024                    5/23/2024                    ?????
Hardware Utilized                                             Software Utilized:
    x F5405807-JBR – Dell Precision T7910, S/T:                   x Case Manager v2.24.2.14
        2KHTDB2, Windows 10 Enterprise                            x Cellebrite Physical Analyzer v7.69.0.10
    x F5460601-JBR – Dell Precision T7820, S/T:                   x GrayKey v1.22.0.27801658
        4L57QR3, Windows 11 Enterprise                            x Magnet Axiom v8.1.0.40287
    x Tableau TX-1 v23.4                                          x Teracopy Pro v3.9
Request Details:
SA Danielle Lockridge requested that the Computer Analysis Response Team (CART) perform a data extraction and
processing of the captioned items (ref. Service Request ID 167968).
Questioned Object Designations:

     1B       Barcode         Designators                           Description                             Examined
  1B3        E6633319        QWF3_iPhone    One (1) Apple iPhone 15 Pro, model: A2848, serial number            Yes
                                            (SN): F6D4N0H2L0, 1TB capacity, designated and hereafter
                                            referred to as QWF3_iPhone.
  1B8        E6633314         QWF8_Dell     One (1) Dell Inspiron laptop, model: 3501, service tag (ST):        Yes
                                            8QT8ZJ3, designated and hereafter referred to as QWF8_Dell.
                                            QWF8_Dell contained one (1) 512GB non-volatile memory
                                            express (NVMe) solid state drive, model: CL1-3D512-Q11 NV,
                                            SN: TW07YGY09DH0018C079J, designated and hereafter
                                            referred to as QWF8_Dell_SSD.


                           Pre-Examination Information and Receipt of Evidence
Date            Initials          Item(s)   Notes
 5/23/2024      JBR         N/A             CART Service Request Assignment
                                               x DFE Ralston assigned CART Request Submission ID: 296990.




                                                                                                    WOLFSON_00000339
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CART EXAMINATION NOTES
  5/23/2024    JBR     N/A             Legal Authority
                                          x DFE Ralston received copies of two (2) search warrants and
                                               confirmation from SA Lockridge that the items were covered under
                                               the original warrants per the Southern District of New York (SDNY)
                                               Assistant U.S. Attorney (AUSA).
  5/23/2024     JBR    N/A             Creation of Case
                                          x Examiner used Case Manager to create a new Case: 281H-WF-
                                               3578641_296990 on the Operational Wide-Area Network
                                               (OpWAN).
  5/23/2024     JBR    1B3             Receipt and Inventory of Evidence
      -                1B8                x Examiner received evidence items 1B3 and 1B8 from the NVRA
  5/24/2024                                    Evidence Control Center (ECC).
                                          x Items were inventoried, labeled, and photographed. Description of
                                               evidence item can be located in the Summary Information >
                                               Questioned Object Designations section above.
                             Imaging, Processing and Staging for Review
  5/23/2024     JBR    QWF3_iPhone     QWF3_iPhone
      -                                  x Examiner used GrayKey to acquire a full filesystem extraction from
  9/16/2024            QWF8_Dell             QWF3_iPhone. The extraction and supporting files were
                                             downloaded to a staging drive and Examiner used Teracopy to copy
                                             the extraction and supporting files from the staging drive to the
                                             Source directory of the Case on OpWAN with verification.
                                         x Examiner used Axiom to process the extraction of QWF3_iPhone.
                                         x On 9/16/2024, Examiner processed the extraction of QWF3_iPhone
                                             using Cellebrite Physical Analyzer to facilitate the filter review per
                                             written request (e-mail) from Southern District of New York (SDNY)
                                             Assistant US Attorney (AUSA) Emily Deininger.

                                       QWF8_Dell
                                         x Examiner removed the back cover of QWF8_Dell to access and
                                            extract the NVMe solid state drive (QWF8_Dell_SSD). Examiner
                                            connected QWF8_Dell_SSD to the TX-1 and a verified E01 image
                                            was created directly to the Source directory of the Case on OpWAN.
                                         x Examiner used Axiom to process QWF8_Dell_SSD.E01. Axiom
                                            identified Partition 3 as being encrypted with Clear Key BitLocker
                                            which it was able to decrypt without a password successfully prior
                                            to processing. After initial processing successfully completed,
                                            Examiner used Axiom to conduct additional processing for Optical
                                            Character Recognition (OCR) to extract text from files to assist with
                                            key word searching.
                                         x Axiom was used to generate a portable case to the Restricted
                                            directory. Examiner used Teracopy to copy the portable case to the
                                            Notes directory with verification to enable filter/case agent review.




                                                                                                WOLFSON_00000340
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CART EXAMINATION NOTES
                                          Creation of Master Copy
Date           Initials   Item(s)      Notes
 6/17/2024     JBR        DEWF3_8_     Creation of Master Copy
     -                    MasterCopy      x Examiner used Teracopy to create a verified master copy of the full
 6/18/2024                                    filesystem extraction from QWF3_iPhone, the image from QWF8_Dell
                                              and the Axiom case results for each to a forensically-prepared Seagate
                                              1TB hard drive, Model: ST1000LM048-2E7172, S/N: ZKP2XT2T.


                                        Creation of Discovery Copy
Date           Initials   Item(s)      Notes
 6/24/2024     JBR        DEWF3_8_     Creation of Discovery Copy for Defense
                          Discovery       x Examiner received a USB Seagate One Touch 1TB SSD, S/N: NAE700V4
                                              from SA Roland Chattaway and used a TX-1 to forensically-prepare
                                              (wipe).
                                          x Examiner used Teracopy to copy of the full filesystem extraction from
                                              QWF3_iPhone and the image from QWF8_Dell to the drive with
                                              verification.

                                              ** Discovery drive has been encrypted using BitLocker requiring the
                                              following password to access:

                                       **********************************************************
                                       Notate the creation of the additional “Discovery” copy (DEWF8_DellDiscovery)
                                       and the “Working” copy for the filter team (DEWF3_iPhone_CellebriteRPT)?
                                       Include model, S/N, etc.
                                       **********************************************************


                                    Meeting to Discuss Opt-Out with DOJ
Date           Initials   Item(s)        Notes
 7/10/2024     JBR        N/A            Meeting to Discuss Opt-Out
                                            x On 7/10/2024 Examiner participated in an MS Teams meeting to
                                                discuss the ingest of the digital media into Relativity for filter and
                                                investigative review with the following participants:
                                                    o Emily Deininger (SDNY)
                                                    o David Felton (SDNY)
                                                    o Masha Maizel (SDNY)
                                                    o Roland Chattaway (FBI)
                                                    o Danielle Lockridge (FBI)
                                                    o Marc Labreche (FBI)
                                            x Assistant General Counsel Marc Labreche stated that this would
                                                require an official opt-out request and AUSA Emily Deininger
                                                confirmed that they would like to proceed.
                                            x Per FBI policy, no additional work shall be performed by CART
                                                Examiners after an opt-out agreement has been reached.




                                                                                                      WOLFSON_00000341
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CART EXAMINATION NOTES
                                            Post-Exam Verifications
Date            Initials   Item(s)         Notes
       ????     JBR                        Post-Exam Verifications
                                              x Examiner conducted a post-exam hash verification for the contents
                                                  of extraction and image with positive results.


                                            Disposition of Evidence
Date            Initials   Item(s)      Notes
 5/28/2024      JBR        1B3          Examiner returned original evidence items 1B3 and 1B8 to the NVRA ECC for
                           1B8          custody and maintenance.


                                       Disposition of Derivative Evidence
Date            Initials   Item(s)       Notes
6/18/2024       JBR        DEWF3_8_      Examiner completed the Collected Item Log entry in Sentinel and corresponding
                           MasterCopy    Chain of Custody for DEWF3_8_MasterCopy and submitted to the NVRA ECC for
                                         custody and maintenance. Assigned 1B13.
6/24/2024       JBR        DEWF3_8_      Examiner gave DEWF3_8_Discovery to SA Roland Chattaway. The BitLocker
                           Discovery     password required to access the hard drive was given to SA Chattaway via high-
                                         side e-mail.
                                        No Further Work – End of Notes




                                                                                                    WOLFSON_00000342
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                           EXHIBIT B
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                                                                                     11000 Wilshire Blvd.
                             Federal Bureau of Investigation                             Suite 1700
                             Digital Evidence Laboratory                            Los Angeles, CA 90024




                                                  TECHNICAL REPORT

           To:          SA Danielle Lockridge                   Date:        03/06/2024
                        Washington Field Office (WFO)           Case ID:     281H-WF-3578641
                                                                Request No.: SUID 293714
           Request Date: 02/21/2024


           Item(s) Submitted:
                 1B3:        One (1) Silver iPhone 15 Pro 2TB Model A2848; SN F6D4N0H2L0; IMEI1:
                             354078642946642; IMEI2: 354078643315540 , Passcode
                 1B4:        One (1) iPad Pro Model A2069 SN DMPFD07MNTJ3 IMEI
                             352782115943307,Passcode
                 1B5:        One (1) Black 128GB DataTraveler thumbdrive
                 1B6:        One (1) Black 64GB DataTraveler thumbdrive
                 1B7:        One (1) Yellow 1MB thumbdrive


           Details of Examination:

              Included below are the results from the CART Request submitted on February 21, 2024.
              Forensic work was performed by FBI Computer Analysis Response Team (CART) Forensic
              Examiner (FE) John A Gomez, unless otherwise stated.

           Timeline Summary
              Dates of Forensic Work: February 21, 2024 to March 7, 2024


           Overall Summary

           On February 21, 2024, Cart Request 293714 requested the following:


           1. Request assistance with onsite images/extractions as well as live preview. 2. Conduct Full File
           system extraction on 1B3 iPhone and 1B4 iPad seized from Search. 3. Process in Physical
           Analyzer 4. Create Cellebrite Reader Reports for 1B3 and 1B4.

           Legal Authority


                                                                                                            WOLFSON_00000343
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Search Warrant was singed on February 21, 2024, by US Magistrate Judge Mark Lane, in the
Western District of Texas.

Request Results-- 1. Request assistance with onsite images/extractions as well as live preview.

On February 22, 2024, FE Gomez provided search warrant support in the seizure of an iPhone
(subsequently entered as 1B3) and an iPad (subsequently entered as 1B4), and three (3)
thumbdrives (1B5, 1B6, 1B7). The passcode          was provided by the owner of 1B3 and
1B4.

Request Results--2. Conduct Full File system extraction on 1B3 iPhone and 1B4 iPad seized from
Search.

   1. Evidence item 1B3 was checked out from Austin evidence control
   2. A Physical Inventory was conducted. The iPhone was still powered on. Airplane mode,
       WiFi, and Bluetooth were off. Pictures were taken of the device turned on confirming
       the serial number F6D4N0H2L0; and IMEI 1: 354078642946642; and IMEI 2:
       354078643315540.
   3. A full file system extraction was completed using GrayKey Version 1.17.7.26651541, App
       Bundle 3.31.027012057.
   4. Additional Password search was successful. FE Gomez went into the iPhone settings,
       then clicked Passwords. Face Recognition was not recognized 3 times which prompted a
       required passcode.              was entered which opened up the password section.
   5. The different apps were visibile, but had dots as passwords. FE Gomez clicked onto the
       dots which revealed the hidden password. A copy of each password was transferred to
       a txt file and utilized in the processing.
   6. Evidence item 1B4 was checked out from Austin evidence control.
   7. A Physical Inventory was conducted. The iPhone was still powered on. Airplane mode,
       WiFi, and Bluetooth were off. Pictures were taken of the device turned on confirming
       the serial number DMPFD07MNTJ3; and IMEI 352782115943307
   8. A full file system extraction was completed using GrayKey Version 1.17.7.26651541, App
       Bundle 3.31.027012057.
   9. Additional Password search was successful. FE Gomez went into the iPad settings, then
       clicked Passwords. Face Recognition was not recognized 3 times which prompted a
       required passcode.              was entered which opened up the password section.
   10. The different apps were visibile, but had dots as passwords. FE Gomez clicked onto the
       dots which revealed the hidden password. A copy of each password was transferred to
       the same txt file which contained passwords from Graykey and the iPhone. This was
       utilized during the processing.

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Request Results--3. Process in Physical Analyzer

   11. Cellebrite Physical Analyzer 7.66.09 was used to process 1B3 and 1B4.
   12. Passwords derived from GrayKey (FFS) and via manual search were added to the
       processing.
   13. IMEI 1 was first used for processing the FFS of 1B3.
   14. After completion of IMEI 1, IMEI 2 was processed with the same password txt file. This
       time IMEI 2 was used with the FFS.
   15. 1B4 only contained one IMEI for processing.

Request Results--4. Create Cellebrite Reader Reports for 1B3 and 1B4.

   16. Two separate Cellebrite reader reports were created following the processing
       completion of 1B3 IMEI 1 and IMEI 2.
   17. A third Cellebrite reader report was created following the processing completion of 1B4.

   Additional Results--Imaging
   18. Evidence Items: 1B5, 1B6, and 1B7 were checked out of Austin evidence Control.
   19. Pictures were taken of the items.
   20. Using a Tableau TX 1 F2928901 forensic imaging machine and a forensically wiped
       staging drive, 1B5, 1B6, and 1B7 were imaged.
   21. An MD5 hash value was generated during the imaging of QLA5_JG032924,
       QLA6_JG032924, and QLA7_JG032924. The computed MD5 hash values were verified
       following creation.
   22. The images were then digitally transferred to the Austin Server.
   23. The items were MD5 verified following the transfer to the server.


Request Results—Derivative evidence was created containing all items of source folder and
work folders.




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Derivative Evidence/Copies:

1B11: MASTER CART COPY DESA11_JG030724 One (1) Western Digital 1.5TB HDD, containing
the archived copy of the source folders of 1B3 1B4 1B5 1B6 and 1B7 along with the work folder.

Specifically, this contains the FFS of 1B3 and 1B4 and the e01 images of 1B5, 1B6, and 1B7. It
also contains the UFED Reader reports of 1B3 and 1B4. No processing of 1B5, 1B6 and 1B7 was
conducted.

Disposition of Items:
  1B3, 1B4, 1B5, 1B6, and 1B7 were returned to evidence. Derivative item 1B11 was entered
  into evidence.


                                                         GOMEZ.JOHN. Digitally signed by
                                                                     GOMEZ.JOHN.F65M64K21

                                                         F65M64K21 Date:   2024.03.07 14:52:06
                                                                     -06'00'
                                             Examiner
                                                        Forensic Examiner SA John A Gomez


                                             Los Angeles
                                             Computer Analysis Response Team




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                             EXHIBIT C



                         [FILED UNDER SEAL]
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                             EXHIBIT D



                         [FILED UNDER SEAL]
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                             EXHIBIT E



                         [FILED UNDER SEAL]
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                            EXHIBIT F
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From:                                                                                                                                                                Deininger, Emily (USANYS)
To:                                                                                                                                                                  Rybicki, David C.
Cc:                                                                                                                                                                  Silverblatt, Rob S.; Felton, David (USANYS); Shugert, Shawn (NSD); Johnson, Oleksandra (CRM); Harper, Michael
                                                                                                                                                                     C.; Lockridge, Danielle Nicole (WF) (FBI)
Subject:                                                                                                                                                             RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt. Discovery Production (Wolfson
                                                                                                                                                                     Individual Prod 5)
Date:                                                                                                                                                                Monday, September 9, 2024 6:44:25 PM




  This Message Is From an External Sender
  This message came from outside your organization.


David— I’m putting you in touch with FBI SA Danielle Lockridge, cc’d here, to coordinate the return
of the devices in DC. I believe they can be made available to you this week if you can find a mutually
beneficial time.


From: Rybicki, David C. <David.Rybicki@klgates.com>
Sent: Monday, September 9, 2024 12:31 PM
To: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>
Cc: Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>; Felton, David (USANYS)
<DFelton@usa.doj.gov>; Shugert, Shawn (NSD) <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra
(CRM) <Oleksandra.Johnson2@usdoj.gov>; Harper, Michael C. <Michael.Harper@klgates.com>;
Canick, Molly (USANYS) <MCanick@usa.doj.gov>
Subject: [EXTERNAL] Re: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt.
Discovery Production (Wolfson Individual Prod 5)

Can I pick them up in DC? He doesn’t live in Texas at present
Sent from my iPhone



        On Sep 9, 2024, at 12:27, Deininger, Emily (USANYS) <Emily.Deininger@usdoj.gov> wrote:


        Yes, we have asked FBI to have these shipped back to Texas, and will let you know when they have arrived so that Mr. Wolfson can pick them up from the FBI’s local office. From: Rybicki, David C. <David. Rybicki@ klgates. com> Sent: Monday,




        Yes, we have asked FBI to have these shipped back to Texas, and will let you know
        when they have arrived so that Mr. Wolfson can pick them up from the FBI’s local
        office.


        From: Rybicki, David C. <David.Rybicki@klgates.com>
        Sent: Monday, September 9, 2024 11:30 AM
        To: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>; Silverblatt, Rob S.
        <Rob.Silverblatt@klgates.com>
        Cc: Felton, David (USANYS) <DFelton@usa.doj.gov>; Shugert, Shawn (NSD)
        <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
        <Oleksandra.Johnson2@usdoj.gov>; Harper, Michael C.
        <Michael.Harper@klgates.com>; Canick, Molly (USANYS) <MCanick@usa.doj.gov>
        Subject: [EXTERNAL] RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW):
        2024.07.01 Govt. Discovery Production (Wolfson Individual Prod 5)
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 Hi Emily – per our conversation a few weeks ago in New York, can we retrieve
 Mr. Wolfson’s devices from FBI in DC? Please let me know how to get these
 back. Thanks, David

 From: Deininger, Emily (USANYS) <Emily.Deininger@usdoj.gov>
 Sent: Wednesday, August 28, 2024 12:40 PM
 To: Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>; Rybicki, David C.
 <David.Rybicki@klgates.com>
 Cc: Felton, David (USANYS) <David.Felton@usdoj.gov>; Shugert, Shawn (NSD)
 <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
 <Oleksandra.Johnson2@usdoj.gov>; Harper, Michael C.
 <Michael.Harper@klgates.com>; Canick, Molly (USANYS) <Molly.Canick@usdoj.gov>
 Subject: RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt.
 Discovery Production (Wolfson Individual Prod 5)
 Thank you for confirming. Best, Emily From: Silverblatt, Rob S. <Rob. Silverblatt@ klgates. com> Sent: Tuesday, August 27, 2024 9: 34 PM To: Deininger, Emily (USANYS) <EDeininger@ usa. doj. gov>; Rybicki, David C. <David. Rybicki@ klgates. com>




 Thank you for confirming.

 Best,
 Emily


 From: Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>
 Sent: Tuesday, August 27, 2024 9:34 PM
 To: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>; Rybicki, David C.
 <David.Rybicki@klgates.com>
 Cc: Felton, David (USANYS) <DFelton@usa.doj.gov>; Shugert, Shawn (NSD)
 <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
 <Oleksandra.Johnson2@usdoj.gov>; Harper, Michael C.
 <Michael.Harper@klgates.com>; Canick, Molly (USANYS) <MCanick@usa.doj.gov>
 Subject: [EXTERNAL] RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW):
 2024.07.01 Govt. Discovery Production (Wolfson Individual Prod 5)

 Emily,

 We have no privilege claims on the laptop at this time and no objection to the
 prosecution commencing its review of the laptop. To the extent we later identify
 anything, we will let Molly know.

 Best,
 Rob




 Rob Silverblatt
 Partner
 K&L Gates LLP
 1601 K Street NW
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 Washington, D.C. 20006
 Phone: 202-778-9132
 Fax: 202-778-9100
 rob.silverblatt@klgates.com
 www.klgates.com


 From: Deininger, Emily (USANYS) <Emily.Deininger@usdoj.gov>
 Sent: Tuesday, August 27, 2024 10:30 AM
 To: Rybicki, David C. <David.Rybicki@klgates.com>
 Cc: Felton, David (USANYS) <David.Felton@usdoj.gov>; Shugert, Shawn (NSD)
 <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
 <Oleksandra.Johnson2@usdoj.gov>; Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>;
 Harper, Michael C. <Michael.Harper@klgates.com>; Canick, Molly (USANYS)
 <Molly.Canick@usdoj.gov>
 Subject: RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt.
 Discovery Production (Wolfson Individual Prod 5)
 David— I understand from Molly that she received a spreadsheet with privilege claims from your team with respect to Wolfson’s cellphone, produced at Wolfson_00000274. She says she did not receive anything with respect to his laptop,




 David—

 I understand from Molly that she received a spreadsheet with privilege claims from
 your team with respect to Wolfson’s cellphone, produced at Wolfson_00000274. She
 says she did not receive anything with respect to his laptop, produced at
 Wolfson_00000275. Do you have any privilege claims to make with respect to the
 laptop, or are you still reviewing? If still reviewing, it would be helpful to get a sense of
 when you expect that to be complete.

 Thanks,
 Emily


 From: Rybicki, David C. <David.Rybicki@klgates.com>
 Sent: Thursday, August 15, 2024 2:54 PM
 To: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>
 Cc: Felton, David (USANYS) <DFelton@usa.doj.gov>; Shugert, Shawn (NSD)
 <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
 <Oleksandra.Johnson2@usdoj.gov>; Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>;
 Harper, Michael C. <Michael.Harper@klgates.com>; Canick, Molly (USANYS)
 <MCanick@usa.doj.gov>
 Subject: [EXTERNAL] RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW):
 2024.07.01 Govt. Discovery Production (Wolfson Individual Prod 5)

 Emily — We are working on the review and are on track to complete it next
 week.

 By way of background, we are informed by our ediscovery team that the data
 arrived in a disjointed fashion that necessitated a burdensome and time-
 consuming extraction exercise. For that reason, we only recently have been
 able to commence our review. To the extent you have more material in the
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 pipeline, I would ask for our respective ediscovery teams to connect in order to
 avoid a repeat of the last production, the technical aspects of which escape
 me.

 I look forward to our upcoming meeting this Monday and hope you’ve had a
 good summer so far. Best, David

 From: Deininger, Emily (USANYS) <Emily.Deininger@usdoj.gov>
 Sent: Thursday, August 15, 2024 1:02 PM
 To: Rybicki, David C. <David.Rybicki@klgates.com>
 Cc: Felton, David (USANYS) <David.Felton@usdoj.gov>; Shugert, Shawn (NSD)
 <Shawn.Shugert@usdoj.gov>; Johnson, Oleksandra (CRM)
 <Oleksandra.Johnson2@usdoj.gov>; Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>;
 Harper, Michael C. <Michael.Harper@klgates.com>; Canick, Molly (USANYS)
 <Molly.Canick@usdoj.gov>
 Subject: RE: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt.
 Discovery Production (Wolfson Individual Prod 5)
 David— I understand from Molly that she has not yet been contacted by you regarding any information that you believe to be potentially privileged on Wolfson’s cellphone or laptop, which were produced to you last month. We are past




 David—

 I understand from Molly that she has not yet been contacted by you regarding any
 information that you believe to be potentially privileged on Wolfson’s cellphone or
 laptop, which were produced to you last month. We are past the 30-day period for
 review that was originally discussed. Do expect to identify any potentially privileged
 information and, if so, by when? We don’t want the filter review process to be
 unnecessarily delayed.

 Best,
 Emily


 From: Imperato, Anthony (USANYS) [Contractor] <AImperato@usa.doj.gov>
 Sent: Monday, July 1, 2024 5:29 PM
 To: Rybicki, David C. <David.Rybicki@klgates.com>; Silverblatt, Rob S.
 <Rob.Silverblatt@klgates.com>; Harper, Michael C. <Michael.Harper@klgates.com>;
 Noreus, Robertson M. <robertson.noreus@klgates.com>
 Cc: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>; Felton, David (USANYS)
 <DFelton@usa.doj.gov>; Shugert, Shawn (NSD) <Shawn.Shugert@usdoj.gov>; Johnson,
 Oleksandra (CRM) <Oleksandra.Johnson2@usdoj.gov>; Stupp, Olivia (CRM)
 <Olivia.Stupp@usdoj.gov>
 Subject: United States v. Andrey Kostin, et al., 24 Cr. 91 (GHW): 2024.07.01 Govt.
 Discovery Production (Wolfson Individual Prod 5)

 Counsel,

 Today’s Government discovery production has been sent to Mr. Noreus via FedEx. The
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        FedEx tracking number is : 7968 7863 8483

        The password for the drive (e-dat_2014) is:

        Thank you.

        Sincerely,
        Anthony Imperato
        FSA Records Examiner
        Illicit Finance & Money Laundering Unit
        U.S. Attorney’s Office – SDNY
        26 Federal Plaza – 38th Floor
        New York, NY 10278
        Office: 212-637-2470
        Cell: 917-922-4735


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                            EXHIBIT G
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                                                                         WOLFSON_00000347
